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                                 Appendix C – Documents Cited in Kreindler and Pounian Affidavit
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    Source1                                          Exhibit      Paragraph Previous Use              Filings                 Immaterial2
    Declaration of Stephen K Moore                  Exhibit 1      6-7, 9, 29                                                 Hearsay, FRE 602,
                                                                                                                              Preliminary
                                                                                                                              investigative material
    FBI Report Oct 5, 2012 [“Florida Bulldog        Exhibit 2         8-9                             Consol. Am. Compl.      Hearsay, FRE 602,
    Memorandum”]                                                                                      Appx. 3                 FRE 901, Preliminary
                                                                                                      (ECF No. 3463-4);       investigative material
                                                                                                      Tarbutton Ex. 10
    911 Commission Interviews of Thumairy Feb       Exhibit 3      9, 18, 53    Aver. Ex. 31          Tarbutton Ex. 24        Hearsay, FRE 602,
    23-24, 2004                                                                 (ECF No. 2930)                                Preliminary
                                                                                                                              investigative material
    911 Commission Interview of Khalil al Khalil    Exhibit 4          9                              Tarbutton Ex. 28        Hearsay, FRE 602,
    Feb 24, 2004                                                                                                              Preliminary
                                                                                                                              investigative material
    FBI Report Sep 4, 2002                          Exhibit 5          9        Aver. Ex. 35          Tarbutton Ex. 35        Hearsay, FRE 602,
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                                                                                                                              investigative material
    911 Commission Interview of Bayoumi Oct         Exhibit 6      9, 16, 216   Aver. Ex. 30          Tarbutton Ex. 23        Hearsay, FRE 602,
    16-17, 2003                                                                 (ECF No. 2930)                                Preliminary
                                                                                                                              investigative material



1
 Document descriptions, other than bracketed text indicating commonly-used short-form descriptors, are taken directly from the “Index of
Exhibits” attached to the Affidavit or from the Affidavit itself. Their use is for convenience only and should not be taken as a concession that the
descriptions are accurate.
2
 Defendant’s objections to the cited documents are made for purposes of the pending motion to dismiss. Defendant reserves the right to move to
exclude, or to assert additional objections, in the event that any party seeks to admit any of the cited documents into evidence in any future
proceeding.

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Source                                          Exhibit     Paragraph Previous Use          Filings               Immaterial
FTO of al Qaeda Federal Register Volume 64     Exhibit 7         7
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911 Commission Team 1A Omar Al Bayoumi         Exhibit 8         9                                                Hearsay
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FBI Report Sep 17, 2003                        Exhibit 9         9                          Tarbutton Ex. 65      Hearsay, FRE 602,
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                                                                                                                  investigative material
911 Commission Interview FBI Special Agent     Exhibit 10        9                                                Hearsay, FRE 602,
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                                                                                                                  investigative material
FBI Report April 2002                          Exhibit 11        9         Aver. Ex. 63     Tarbutton Ex. 46      Hearsay, FRE 602,
                                                                           (ECF No. 2930)                         FRE 901, Preliminary
                                                                                                                  investigative material
911 Commission Interview FBI Special Agent     Exhibit 12      9, 24       Aver. Ex. 33     Tarbutton Ex. 26      Hearsay, FRE 602,
#2 Nov 17, 2003                                                            (ECF No. 2930)                         Preliminary
                                                                                                                  investigative material
Congressional Joint Inquiry Report Excerpt –   Exhibit 13     9, 14, 21,                    Consol. Am. Compl., Hearsay, FRE 602,
The 28 Pages [“Part Four”]                                   23-24, 26,                     Appx. 2              Preliminary
                                                             29, 50, 52,                    (ECF Nos. 3463-2-3); investigative material
                                                            54, 72, 176,                    Tarbutton Ex. 12
                                                              178, 205
Bayoumi’s Work History and Status              Exhibit 14    10-13, 15                                            Hearsay
FBI Inspector General Review excerpt           Exhibit 15       15                                                Hearsay, FRE 602,
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Treasury Designates Anwar Al-Aulaqi            Exhibit 17      17                                       Hearsay, FRE 602
Remarks by the President September 30, 2011    Exhibit 18      17
FBI Report Oct 25, 2002                        Exhibit 19      18                    Tarbutton Ex. 36   Hearsay, FRE 602,
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WAMY Letter from KSA Embassy Nov 15            Exhibit 20      19                                       Hearsay, FRE 901
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Letter to WAMY from Al Sowailem May 6          Exhibit 21    19, 181                                    Hearsay, FRE 901
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FBI Vault Investigation September 2002         Exhibit 25      21                                       Hearsay, FRE 901,
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                                                                                                        investigative material
State Department Diplomatic List Winter 2004   Exhibit 26      22
Washington Post U.S. Revokes Visas of 16 at    Exhibit 27      22                                       Hearsay, FRE 602
Islamic Institute Jan 29, 2004



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                                                                         (ECF No. 2927-5)
Curacao Commercial Register ASPCOL NV          Exhibit 33      26                                                Hearsay, FRE 901
Declaration of James Crum                      Exhibit 34      27                                                Hearsay, FRE 602
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Treasury Department and United Nations Press   Exhibit 36      29
Releases
US v Bin Laden Indictment Transcript and       Exhibit 37      29                                                Hearsay, FRE 901
Exhibit Excerpts
United Nations Security Council Letter Dated   Exhibit 38      29                                                Hearsay
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Madrid Central Trial Court Indictment          Exhibit 39   29, 55-56,                                           Hearsay, FRE 901
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                                                                                                         investigative material
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WSRA
Western Somali Relief Agency IRS Form 990       Exhibit 43      30                                       FRE 901
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US v Mohamed Docket #35 Government’s            Exhibit 44     30, 34                                    Hearsay, FRE 602,
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CNN Ex-Saudi ambassador Kingdom could           Exhibit 56      47                                                  Hearsay, FRE 602
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Saudi intelligence March 31, 2004
Royal Embassy of Saudi Arabia Basic Law of      Exhibit 73       57        Affirm. of Sean P.
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Royal Embassy of Saudi Arabia King Fahd’s    Exhibit 74       57      Affirm. of Sean P.
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03-MDL-1570 - Sean Carter Affirmation        Exhibit 75       58      Affirm. of Sean P.                      Hearsay, FRE 602,
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Wikipedia Arabic Saleh bin Abdulaziz Al      Exhibit 84       68                                              Hearsay, FRE 602
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U.S. v Sedaghaty Declaration of al-Kholaifi     Exhibit 102      80                                            Hearsay
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AHIF Monthly Summary Report and checks          Exhibit 107      85                                            Hearsay, FRE 901
State Department Cable Islamabad September      Exhibit 108      87                                            Hearsay, FRE 602,
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State Department Cable Islamabad December       Exhibit 109      87                                            Hearsay, FRE 602,
21, 1998                                                                                                       FRE 901
Islamic Emirate of Afghanistan                  Exhibit 110      87                                            Hearsay, FRE 901
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Department of Defense Memorandum JTF-           Exhibit 112      88                                            Hearsay, FRE 602,
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Saudi Gazette October 3, 1995                      Exhibit 132      106                                           Hearsay, FRE 602
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State Department Cable Washington DC April         Exhibit 135      109       Aver. Ex. 117                       Hearsay, FRE 602,
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Department of Defense Memorandum JTF-            Exhibit 137      111                                           Hearsay, FRE 602,
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State Department Cable 07Khartoum214             Exhibit 139      113       Aver. Ex. 156                       Hearsay, FRE 602,
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Arab News - More Aid For Afghans Sought -        Exhibit 140      114                                           Hearsay, FRE 602
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Royal Embassy of Saudi Arabia London -           Exhibit 146      119                                           Hearsay, FRE 602,
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IIRO Constitution                               Exhibit 149      121                                           FRE 901
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KSA Letter to MWL Embassy DC Criteria           Exhibit 156      128                                           FRE 901
KSA letter from Beijing religious attache to    Exhibit 157      129                                           FRE 901
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KSA letter to MWL re Philippines Institute 9-   Exhibit 158      130                                           FRE 901
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MWL form re funding for Mosque in               Exhibit 159      131                                           FRE 901
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Form letter re applications for financial       Exhibit 160      132                                           FRE 901
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MWL letter to Ministry of Islamic Affairs re    Exhibit 161      133                                           FRE 901
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IIRO spreadsheet showing KSA relief to Sierra   Exhibit 163      135                                               Hearsay, FRE 901
Leone
03-MDL-1570 - Affirmation of Sean P. Carter     Exhibit 164      136       Affirm. of Sean P.
Exhibit 13 Lecture of Sheikh Saleh                                         Carter, Ex. 13
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Al-Kamal                                                                   (ECF No. 2930)
MWL statement of revenues and expenditures      Exhibit 166      138                                               Hearsay, FRE 901
02-cv-01616 DCDC - Declaration of Saleh         Exhibit 167      139       Aver. Ex. 135                           Hearsay
Abdullah al Saykhan                                                        (ECF No. 2930)
Government Profile Majlis al Shura              Exhibit 168      140
Saudi Economic Survey October 13, 1999          Exhibit 169      141                                               Hearsay, FRE 602
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Shaykh Bin Baz
IIRO letter re KSA as IIRO in Thailand, 5-7-    Exhibit 171      143                                               Hearsay
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Letter re KSA as IIRO in Ethiopia, 9-18-01      Exhibit 173      145                            Haefele Ex. 25T    Hearsay
Memo regarding MWL in London                    Exhibit 174      146                                               Hearsay, FRE 901
Pakistani hotel receipts                        Exhibit 175      147                                               FRE 901
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Khalifa
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London Sunday Business-Saudi charity comes   Exhibit 181      152                                           Hearsay, FRE 602
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Canada v Jaballah excerpts                   Exhibit 182      153       Aver. Ex. 122                       Hearsay, Preliminary
                                                                        (ECF No. 2930)                      investigative material
Directions to transfer MWL funds to KSA      Exhibit 183      154                                           FRE 901
Moscow Embassy
MWL transfer of Funds to KSA Embassy in      Exhibit 184      154                                           FRE 901
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MWL check to KSA Embassy Zambia, 12-97       Exhibit 185      154                                           FRE 901
US v Noshan Superseding Indictment and       Exhibit 186      154                                           Hearsay, FRE 602
MWLIIRO 00065788 KSA payroll Noshan
MWL-IIRO letter seeking KSA Germany to       Exhibit 187      154                                           FRE 901
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MWL-IIRO letter to KSA Russia showing        Exhibit 188      155                                           FRE 901
IIRO deposit into Embassy Acct, 5-00
Fax showing transfer of funds to KSA Niger   Exhibit 189      155                                           FRE 901
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MWL letter to KSA Embassy India              Exhibit 190      155                                           FRE 901
Letter from KSA Asmara Embassy to IIRO re    Exhibit 191      155
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IIRO letter to KSA seeking approval of          Exhibit 193      155                                      FRE 901
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KSA Embassy Fax to IIRO re Morocco              Exhibit 197      155
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Riyadh Daily - IIRO delivers aid to Lebanon -   Exhibit 198      155                                      Hearsay, FRE 602
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Ain al Yaqueen - May 18, 2001 re Bulgaria       Exhibit 199      155                                      Hearsay, FRE 602
IIRO Financial Regulations excerpts             Exhibit 200      156                                      Hearsay, FRE 901
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Letter to IIRO from KSA Embassy Jakarta re      Exhibit 202      158
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MWL-IIRO letter to IIRO Eastern Province re     Exhibit 204      160                                      FRE 901
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99
MWL-IIRO fax to Moscow Embassy re               Exhibit 205      161                                      FRE 901
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MWL-IIRO letter to Ministry of Islamic          Exhibit 206      162                                      Hearsay, FRE 901
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31-00
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WAMY USA profit and loss statement and            Exhibit 215      174                                           Hearsay, FRE 901
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WAMY INTL Production re Rageah                 Exhibit 220      175
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Transcom Int’l and Deutsche Telekom Bill for   Exhibit 223      177                                           FRE 901
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Aulaqi employment contract                     Exhibit 225      179                                           FRE 901
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03-MDL-1570 Saudi High Commission -             Exhibit 237      195       ECF No. 262-1                            Hearsay, FRE 602
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Investigation report on TWRA excerpt                                       Carter, Ex. 19                           FRE 901, Preliminary
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FBI Interviews of Jamal al Fadl excerpts        Exhibit 240      198       Aver. Exs. 139, 142                      Hearsay, FRE 602,
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                                                                                                                    investigative material
03-MDL-1570 Declaration of Ali Ahmad Ali        Exhibit 241      199       Affirm. of Sean P.                       Hearsay
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Department of Defense JTTF-GTMO Detainee          Exhibit 242      200                                            Hearsay, FRE 602,
Assessment SA 005                                                                                                 FRE 901, Preliminary
                                                                                                                  investigative material
State Department Cable September 9, 2002          Exhibit 243      201       Aver. Ex. 229     Tarbutton Ex. 16   Hearsay, FRE 602,
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Statement of Yasin Kadi to OFAC Excerpts          Exhibit 244    203-204                                          Hearsay
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03-MDL-1570 Declaration Abdulrahman al-           Exhibit 248      209       ECF No. 631-3;                       Hearsay
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The Commission by Philip Shenon excerpt          Exhibit 253      214       Aver. Ex. 44                        Hearsay, FRE 602
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03-MDL-1570 Affidavit of Bakr Binladin           Exhibit 256      217       ECF No. 1645-4                      Hearsay
January 27, 2006 Excerpt
State Department Cable Islamabad November        Exhibit 257      217                                           Hearsay, FRE 602,
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Saudi Embassy News Archives - Prince Nayef       Exhibit 258      217                                           Hearsay, FRE 602,
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Frontline Interview Prince Bandar Bin Sultan -   Exhibit 261      217
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                                                         33, 41-42,                                      As cited in paragraphs
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Defendant MWL’s Answer to Third Amended        N/A          97                                           Hearsay, FRE 602
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